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 1                                                       The Honorable John C. Coughenour

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 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8

 9
     MICROSOFT CORPORATION,
10                                                    Case No. C10-1823-JCC
                           Plaintiff,
11
            v.                                        MINUTE ORDER
12
     MOTOROLA, INC. and MOTOROLA
13   MOBILITY, INC.,
14                         Defendants.
15

16          The following Minute Order is made by direction of the Court, the Honorable John C.
17   Coughenour, United States District Judge:
18          This case has been REASSIGNED to the Honorable James L. Robart. All future
19   pleadings filed in this case should reflect the change in the case number as follows: C10-1823-
20   JLR.
21

22          DATED this 15th day of November, 2010.
23
                                                         WILLIAM M. McCOOL, Clerk of Court
24

25                                                       By      /s/ C. Ledesma
                                                                 Deputy Clerk
26

     MINUTE ORDER
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